                 Case 23-10961-BLS              Doc 288        Filed 09/05/23         Page 1 of 4




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                    )
                                                          )     Chapter 11
WILLIAMS INDUSTRIAL SERVICES                              )
GROUP, INC., et al.,1                                     )     Case No. 23-10961-BLS
                                                          )
         Debtors.                                         )     Jointly Administered


     TENNESSEE VALLEY AUTHORITY’S LIMITED OBJECTION TO DEBTORS’
             NOTICE TO CONTRACT PARTIES TO POTENTIALLY
        ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         The Tennessee Valley Authority (“TVA”), a wholly owned corporate agency and

instrumentality of the United States of America, through its undersigned counsel, submits this

objection in connection with the above-referenced chapter 11 case:

                                            RELEVANT BACKGROUND

    1. On August 22, 2023, Debtors filed a Notice to Contract Parties to Potentially Assumed

Executory Contracts and Unexpired Leases (“First Notice”) [Docket No. 203]. Exhibit A to the

First Notice identified a TVA MSA contract and forty-nine (49) TVA purchase orders (“POs”).

    2. On August 30, 2003, Debtors filed a Notice of Auction Cancellation and Designation of

Successful Bidder (“Auction Notice”) [Docket No. 231]. Pursuant to the Auction Notice,

Debtors cancelled the auction that had been scheduled for August 31, 2023, and designated

EnergySolutions Nuclear Services, LLC as the successful bidder (“Buyer”).



1
  The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their respective
employer identification numbers or registration numbers in the applicable jurisdictions, are as follows: Instant
Brands (Texas) Inc. (2526); Instant Brands Acquisition Holdings Inc. (9089); Instant Brands Acquisition
Intermediate Holdings Inc. (3303); Instant Brands Holdings Inc. (3318); URS-1 (Charleroi) LLC (7347); Instant
Brands LLC (0566); URS-2 (Corning) LLC (8085); Corelle Brands (Latin America) LLC (8862); EKCO Group,
LLC (7167); EKCO Housewares, Inc. (0216); EKCO Manufacturing of Ohio, Inc. (7300); Corelle Brands (Canada)
Inc. (5817); Instant Brands (Canada) Holding Inc. (4481); Instant Brands Inc. (8272); and Corelle Brands (GHC)
LLC (9722). The address of the debtors’ corporate headquarters is 3025 Highland Parkway, Suite 700, Downers
Grove, IL 60515.
                Case 23-10961-BLS              Doc 288   Filed 09/05/23   Page 2 of 4




    3. On September 1, 2023, Debtors filed a Second Notice to Contract Parties to Potentially

Assumed Executory Contracts and Unexpired Leases (the “Second Notice”; and together with

the First Notice, the “Notices,” and each, a “Notice”) [Docket No. 249]. Exhibit A to the Second

Notice removed twenty-three (23) TVA POs from the First Notice.

    4. Subject to approval of the Bankruptcy Court and the completion of certain other

conditions precedent as set forth in the Asset Purchase Agreement, dated July 22, 2023, and filed

with the Court on July 24, 2023 [Docket No. 33], Debtors propose to sell to Buyer substantially

all of their assets and certain liabilities.

    5. The Notices list an MSA contract with TVA as well as forty-five (45) TVA POs. Neither

Notice, however, lists any specific contract or PO numbers. As a result, TVA cannot ascertain

with specificity which contracts or POs are referred to in the Notices.

    6. Williams Plant Services, LLC (“Debtor”) is identified as the debtor counterparty for each

of the agreements with TVA identified in the Notices. TVA currently has the following

contracts (collectively, “Contracts”) to which Debtor is a party:

         Contract No. 10728

         Contract No. 11514

         Contract No. 13986

         Contract No. 16003

TVA also has outstanding one hundred fifteen (115) POs under these Contracts. The PO

numbers are attached hereto as Exhibit A.

    7. Debtor provides certain performance assurance, including performance and payment

bonds in accordance with the Miller Act, 40 U.S.C. §§ 3131-3133, under Contracts 13986 and

16003.




                                                     2
               Case 23-10961-BLS         Doc 288      Filed 09/05/23      Page 3 of 4




   8. Debtor is currently in default under Contract No. 16003 for failing to provide a

performance and payment bond under PO numbers 7445309, 7423388, 7367682, 7363074,

7356217, or 7297276.

                 LIMITED OBJECTION TO ASSUMPTION AND ASSIGNMENT

   9. Section 365 of the Bankruptcy Code governs assumption and assignment of executory

contracts. Upon the assumption of an executory contract under section 365, the debtor’s estate

must (i) cure all defaults or provide adequate assurance that it will promptly cure all defaults, (ii)

compensate, or provide adequate assurance that the debtor will promptly compensate, the other

party for any pecuniary losses arising from such default, and (iii) provide adequate assurance of

future performance under the agreement. 11 U.S.C. § 365(b)(1). In addition, section 365(f)(2)

requires that a debtor may only assign an executory contract if the debtor assumes the contract in

accordance with the provisions of section 365 and provides adequate assurance of future

performance by the assignee of the contract. See 11 U.S.C. § 365(f)(2).

   10. TVA objects to the assumption and assignment of the TVA MSA and each of the TVA

POs identified in the Notices because the Debtors failed to specify which Contracts and

corresponding POs the Debtor intends to assume and assign.

   11. TVA further objects to any assumption or assignment of any Contracts or corresponding

POs to the extent that the Debtor and Buyer do not comply with the requirements of 11 U.S.C.

§ 365, cure all outstanding defaults, including but not limited to, providing performance and

payment bonds to TVA for the POs noted above, and provide adequate assurance of future

performance under any Contracts or POs proposed for assumption and assignment, including but

not limited to, the Buyer providing performance and payment bonds required under the Contracts

in accordance with the Miller Act, providing any other performance assurance that TVA may




                                                  3
              Case 23-10961-BLS        Doc 288      Filed 09/05/23     Page 4 of 4




require in accordance with the terms of the Contracts, and complying with any other

requirements under the Contracts.

   12. TVA and its representatives are available to engage in discussions with Debtors and

Buyer to attempt to address the assumption and assignment issues raised in this objection.

   13. TVA reserves the right to amend, supplement, or otherwise modify this objection, and to

raise further objections to the assumption, assignment or cure amounts with respect to any

contracts between TVA and Debtors.



Dated: September 5, 2023                     Respectfully submitted,


                                             /s/ Jason W. Harbour
                                             Jason W. Harbour (No. 4176)
                                             HUNTON ANDREWS KURTH LLP
                                             Riverfront Plaza, East Tower
                                             951 East Byrd Street
                                             Richmond, Virginia 23219
                                             Telephone:     (804) 788-8200
                                             Facsimile:     (804) 788-8218
                                             Email:         jharbour@HuntonAK.com

                                             Counsel for Tennessee Valley Authority




                                                4
